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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

                                                  )
 DR. KUSUMA NIO, et al.,                          )
                                                  )
                Plaintiffs,                       )
                                                  ) Civil Action No. 1:17-00998-ESH-RMM
        v.                                        )
                                                  )
 UNITED STATES DEPARTMENT OF                      )
 HOMELAND SECURITY, et al.,                       )
                                                  )
                Defendants.                       )
                                                  )
                                                  )

             DEFENDANTS’ AUGUST 1, 2018, BI-WEEKLY STATUS REPORT

       Pursuant to the Court’s Order (ECF Nos. 36, 43, 88), Defendants, United States Department

of Homeland Security, et al., file the attached bi-weekly report, and note that the Agency

Defendants inform the DOJ of the following:

   1. Pursuant to the Court’s Order on Plaintiffs’ preliminary injunction motion (ECF No. 74),

       DoD has not implemented Section III of DoD’s October 13, 2017 policy, Certification of

       Honorable Service for Members of the Selected Reserve of the Ready Reserve and Members

       of the Active Components of the Military or Naval Forces for Purposes of Naturalization.

       Accordingly, DoD will not decertify, rescind, recall, revoke, or otherwise invalidate

       Plaintiffs’ or the class’ Form N-426s, “except as related to the conduct of a class member

       and based on sufficient grounds generally applicable to members of the military for re-

       characterization of service.” Id.; see also ECF No. 73, Court’s Order on Plaintiffs’

       Amended Motion for Class Certification.

   2. At this time, the Army has determined that some of the named Plaintiffs are unsuitable.

       None of the named Plaintiffs are currently separated from the Army.



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   3. A total of four named Plaintiffs have now naturalized. The CAF has completed its review of

       the remaining six named Plaintiffs. Further review is now required by the Army in the one

       case for which an MSSD has not been issued.

   4. At this moment, none of the remaining named Plaintiffs are at risk of imminent deportation.

       A Notice to Appear issuance (followed by removal proceedings, then a final finding of

       removability, then possibly further appeals) is a necessary predicate to a final removal order

       for any of these named Plaintiffs. No named Plaintiff has been issued a Notice to Appear.

   5. USCIS has informed DOJ that it has not changed, and is complying with, its July 7, 2017

       guidance.

       There are no further updates regarding the Court’s September 15, 2017 questions (ECF No.

46). Thus, the responses to the Court’s questions submitted on September 22, 2017 and October 13,

2017 (ECF Nos. 51, 58), remain accurate.




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DATED: August 1, 2018            Respectfully submitted,

                                 CHAD A. READLER
                                 Acting Assistant Attorney General
                                 Civil Division

                                 WILLIAM C. PEACHEY
                                 Director, Office of Immigration Litigation

                                 COLIN A. KISOR
                                 Deputy Director

                                 By: /s/ Elianis N. Perez
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                                 ATTORNEYS FOR DEFENDANTS




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August 1, 2018, Bi-Weekly REPORT
                                                                                                                                                NIAC
                                                                                                                                             (National
                                                                                                                                            Intelligence
                                                                                                                   N-426                      Agency                                      CI Focused
                   Enlistment   N-400 Filing                                                                      Remains      DTP Time        Check)                                      Security                 CAF                              MSSD
    PLAINTIFF         Date         Date                              Immigration Status                          Certified*      Out         Complete       SSBI Open     SSBI Closed     Interview                Status                            Status                            Notes
Li, Wanjing         2/5/2016    8/17/2016 Ms. Wanjing Li, has successfully adjusted status based on her                        2/4/2019      1/24/2017      2/10/2016      7/24/2017      Occurred:     CAF Adjudication complete.      MSSD completed on July 11,         No Notice to Appear issued.
                                             marriage to a U.S. citizen and is now a Lawful Permanent                                                                     (530 days to    9/22/2017                                     2018. USCIS not yet notified.
                                             Resident.                                                                                                                    completion)
                                                                                                                    Yes




Calisto Alves de   5/26/2016     2/6/2017     Based on the information known to DHS, Mr. Calisto Alves de                     5/26/2019       2/3/2017      8/29/2016       9/6/2017      Occurred:     CAF adjudication complete.      Further review required by         No Notice to Appear issued.
Almeida,                                      Almeida has lawful immigration status. He is an F-1                   Yes                                                   (373 days to    9/12/2017                                     Army.
Haendel Crist                                 nonimmigrant student admitted for duration of status.                                                                       completion)

Batchu,            6/7/2016      3/23/2017    Became a United States Citizen on 4/25/2018                                      6/7/2019       8/4/2016      6/10/2016      9/28/2017      Occurred:     CAF Adjudication complete.      Received an MSSD on April 10,      No Notice to Appear issued.
Prashanth                                                                                                           Yes                                                   (475 days to    1/23/2018                                     2018.
                                                                                                                                                                          completion)
Calixto, Lucas     3/16/2016     3/7/2017     Lawfully present. No nonimmigrant visa, Deferred Action for                     5/16/2019       1/6/2017       6/9/2016      7/19/2017      Occurred:     CAF Adjudication complete.      Received an MSSD on June 7,       No Notice to Appear issued.
                                              Childhood Arrivals (DACA) grant, valid through April 5, 2020.                                                               (405 days to    9/26/2017                                     2018. The Army notified USCIS
                                              Mr. Calixto’s N-400 application remains pending.                      Yes                                                   completion)                                                   of its determination on June 8th.



Cheng, Shu         2/23/2016     2/27/2017    Became a United States Citizen on 3/23/2018.                                    2/22/2019       1/6/2017      2/25/2016      7/26/2017      Occurred:     CAF Adjudication complete.      Received an MSSD on March 1,       No Notice to Appear issued.
                                                                                                                                                                          (517 days to    9/12/2017                                     2018.
                                                                                                                    Yes
                                                                                                                                                                          completion)

Hong, Seung Joo 5/13/2016        2/28/2017    Based on the information known to DHS, Mr. Hong has no                          5/13/2019      1/24/2017      5/17/2016     10/12/2017       Occurred: CAF Adjudication complete.         MSSD completed on July 11,         No Notice to Appear issued.
                                              lawful immigration status. Deferred Action application denied                                                               (513 days to    10/24/2017                                    2018. USCIS not yet notified.
                                              on 9/5/2017.                                                          Yes                                                   completion)



Liu, Ye            3/16/2016     9/30/2016    Lawfully present. No nonimmigrant visa, deferred action grant,                  5/16/2019       1/6/2017      3/17/2016     12/28/2017      Occurred:     CAF Adjudication complete.      MSSD completed on July 11,         No Notice to Appear issued.
                                              valid through 3/2019.                                                                                                       (651 days to    9/27/2017                                     2018. USCIS not yet notified.
                                                                                                                    Yes                                                   completion)

Udeigwe, Emeka 3/17/2016         1/13/2017    Based on the information known to DHS, Mr. Udeigwe has                          3/17/2019      2/10/2017      3/21/2016      8/30/2016      Occurred:     CAF Adjudication complete.      MSSD completed on July 5, 2018. No Notice to Appear issued.
                                              lawful immigration status. He is an F-1 nonimmigrant student                                                                (162 days to    9/28/2017                                     USCIS not yet notified.
                                              admitted for duration of status.                                                                                            completion)
                                                                                                                    Yes



*Pursuant to the Court’s Order on Plaintiffs’ preliminary injunction motion (ECF No. 74), DoD will not implement Section III of DoD’s October 13, 2017 policy, Certification of Honorable Service for Members of the Selected Reserve of the Ready Reserve and Members of the Active Components
of the Military or Naval Forces for Purposes of Naturalization. Accordingly, DoD will not decertify, rescind, recall, revoke, or otherwise invalidate Plaintiffs’ or the class’ Form N-426s, “except as related to the conduct of a class member and based on sufficient grounds generally applicable to
members of the military for re-characterization of service.” Id. ; see also ECF No. 73, Court’s Order on Plaintiffs’ Amended Motion for Class Certification.

** The Counterintelligence Focused Screening Report is generated after the CI interview.



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                                  CERTIFICATE OF SERVICE
                              Civil Action No. 1:17-00998-ESH-RMM

       I HEREBY CERTIFY that on this 1st day of August, 2018, a true copy of the foregoing

was filed with the Clerk of the Court using the CM/ECF system which sent notification of such

filing via e-mail to the following:

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ATTORNEY FOR PLAINTIFFS

                                           /s/ Elianis N. Perez
                                           ELIANIS N. PEREZ
                                           Assistant Director
                                           United States Department of Justice

                                           ATTORNEY FOR DEFENDANTS




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